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   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
                          WESTERN DIVISION – SPRING STREET
  10

  11
       ROSA NAVAS, an individual;               Case No: 2:15-cv-09515-DDP (JC)
  12   ALFREDO NAVAS, an individual;            Judge: Hon. Dean D. Pregerson
       A.N., a minor, individually and as
  13   successor in interest to Sergio Navas
       and by and through his mother and
  14   Next Friend Christel Emmet; J.N., a      DEFENDANT BRIAN VAN
       minor, individually and as successor     GORDON’S ANSWER TO
  15   in interest to Sergio Navas and by and   COMPLAINT
       through his mother and Next Friend
  16   Christel Emmet; A.N., a minor,
       individually and as successor in
  17   interest to Sergio Navas and by and
       through her mother and Next Friend
  18   Christel Emmet,
  19               Plaintiffs,
  20         vs.
  21   CITY OF LOS ANGELES, a
       municipality; BRIAN VAN
  22   GORDON, an individual; and DOES
       1 through 10, inclusive,
  23
                   Defendants.
  24

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                                      ANSWER TO COMPLAINT
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   1                              ANSWER TO COMPLAINT
   2         Answering Plaintiffs' Complaint for (1) Violation of 42 U.S.C. Section 1983
   3   [Detention and Arrest]; (2) Violation of 42 U.S.C. Section 1983 [Excessive Force];
   4   (3) Violation of 42 U.S.C. Section 1983 [Substantive Due Process]; (4) Violation
   5   of 42 U.S.C. Section 1983 [Municipal Liability]; (5) Wrongful Death – Battery; (6)
   6   Wrongful Death – Negligence; and (7) Bane Act. (1) Violation of 42 U.S.C. §
   7   1983 [excessive force]; (2) Violation of 42 U.S.C. § 1983 [Monell]; (3) Wrongful
   8   Death; (4) Assault and Battery; (5) Violation of 42 U.S.C. § 1983 [excessive
   9   force/conspiracy]; (6) Intentional Infliction of Emotional Distress ("Complaint"),
  10   Defendant, Brian Van Gordon, admits, denies, and alleges as follows:
  11

  12                                   INTRODUCTION
  13         1.     Answering paragraph 1 of the Complaint, insofar as the allegations of
  14   this paragraph regard Sergio Navas’ familial connections, Van Gordon is without
  15   sufficient information to admit or deny the allegations therein and on that basis
  16   denies those allegations. Insofar as the allegations of this paragraph contain legal
  17   conclusions, no answer is required. To the extent an answer is required, Van
  18   Gordon admits that Sergio Navas was fatally shot by Los Angeles Police Officer
  19   Brian Van Gordon on March 5, 2015. Except as so admitted, Van Gordon denies
  20   each and every allegation contained in paragraph 1 of the Complaint.
  21

  22                                        PARTIES
  23         2.     Answering paragraph 2 of the Complaint, Van Gordon is without
  24   sufficient knowledge or information to form a belief as to the truth of the
  25   allegations, and on that basis denies each and every allegation contained therein.
  26         3.     Answering paragraph 3 of the Complaint, Van Gordon is without
  27   sufficient knowledge or information to form a belief as to the truth of the
  28   allegations, and on that basis denies each and every allegation contained therein.
                                                 1
                                       ANSWER TO COMPLAINT
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   1         4.     Answering paragraph 4 of the Complaint, Van Gordon is without
   2   sufficient knowledge or information to form a belief as to the truth of the
   3   allegations, and on that basis denies each and every allegation contained therein.
   4         5.     Answering paragraph 5 of the Complaint, Van Gordon is without
   5   sufficient knowledge or information to form a belief as to the truth of the
   6   allegations, and on that basis denies each and every allegation contained therein.
   7         6.     Answering paragraph 6 of the Complaint, Van Gordon is without
   8   sufficient knowledge or information to form a belief as to the truth of the
   9   allegations, and on that basis denies each and every allegation contained therein.
  10         7.     Answering paragraph 7 of the Complaint, Van Gordon is without
  11   sufficient knowledge or information to form a belief as to the truth of the
  12   allegations, and on that basis denies each and every allegation contained therein.
  13         8.     Answering paragraph 8 of the Complaint, insofar as the allegations of
  14   this paragraph contain legal conclusions, no answer is required. To the extent an
  15   answer is required, Van Gordon admits that he is employed by the City of Los
  16   Angeles. Except as so admitted, Van Gordon denies each and every allegation
  17   contained in paragraph 8 of the Complaint.
  18         9.     Answering paragraph 9 of the Complaint, insofar as the allegations of
  19   this paragraph contain legal conclusions, no answer is required. To the extent an
  20   answer is required, Van Gordon admits that he is employed by the City of Los
  21   Angeles. Except as so admitted, Van Gordon denies each and every allegation
  22   contained in paragraph 9 of the Complaint.
  23         10.    Answering paragraph 10 of the Complaint, insofar as the allegations
  24   of this paragraph contain legal conclusions, no answer is required. To the extent an
  25   answer is required, Van Gordon is without sufficient knowledge or information to
  26   form a belief as to the truth of the allegations, and on that basis denies each and
  27   every allegation contained therein.
  28         11.    Answering paragraph 11 of the Complaint, insofar as the allegations
                                                  2
                                       ANSWER TO COMPLAINT
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   1   of this paragraph contain legal conclusions, no answer is required. To the extent an
   2   answer is required, Van Gordon is without sufficient knowledge or information to
   3   form a belief as to the truth of the allegations, and on that basis denies each and
   4   every allegation contained therein.
   5         12.    Answering paragraph 12 of the Complaint, insofar as the allegations
   6   of this paragraph contain legal conclusions, no answer is required. To the extent an
   7   answer is required, Van Gordon is without sufficient knowledge or information to
   8   form a belief as to the truth of the allegations, and on that basis denies each and
   9   every allegation contained therein.
  10         13.    Answering paragraph 13 of the Complaint, insofar as the allegations
  11   of this paragraph contain legal conclusions, no answer is required. To the extent an
  12   answer is required, Van Gordon denies each and every allegation contained
  13   therein.
  14         14.    Answering paragraph 14 of the Complaint, insofar as the allegations
  15   of this paragraph contain legal conclusions, no answer is required. To the extent an
  16   answer is required, Van Gordon is without sufficient knowledge or information to
  17   form a belief as to the truth of the allegations, and on that basis denies each and
  18   every allegation contained therein.
  19         15.    Answering paragraph 15 of the Complaint, insofar as the allegations
  20   of this paragraph contain legal conclusions, no answer is required. To the extent an
  21   answer is required, Van Gordon is without sufficient knowledge or information to
  22   form a belief as to the truth of the allegations, and on that basis denies each and
  23   every allegation contained therein.
  24         16.    Answering paragraph 16 of the Complaint, insofar as the allegations
  25   of this paragraph contain legal conclusions, no answer is required. To the extent an
  26   answer is required, Van Gordon is without sufficient knowledge or information to
  27   form a belief as to the truth of the allegations, and on that basis denies each and
  28   every allegation contained therein.
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                                       ANSWER TO COMPLAINT
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   1                            JURISDICTION AND VENUE
   2         17.    Answering paragraph 17 of the Complaint, insofar as the allegations
   3   of this paragraph contain legal conclusions, no answer is required. To the extent an
   4   answer is required, Van Gordon admits the allegations therein.
   5         18.    Answering paragraph 18 of the Complaint, insofar as the allegations
   6   of this paragraph contain legal conclusions, no answer is required. To the extent an
   7   answer is required, Van Gordon admits the allegations contained therein.
   8

   9                FACTS COMMON TO ALL CLAIMS FOR RELIEF
  10         19.    Paragraph 19 of the Complaint merely incorporates by reference the
  11   allegations of previous paragraphs. In answering paragraph 19, Van Gordon
  12   incorporates his respective admissions and denials to each such paragraph
  13   enumerated above.
  14         20.    Answering paragraph 20 of the Complaint, Van Gordon admits the
  15   allegations therein.
  16         21.    Answering paragraph 21 of the Complaint, Van Gordon is without
  17   sufficient knowledge or information to form a belief as to the truth of the
  18   allegations, and on that basis denies each and every allegation contained therein.
  19         22.    Answering paragraph 22 of the Complaint, Van Gordon admits he is a
  20   Los Angeles Police Officer and encountered a vehicle driven by Sergio Navas on
  21   March 5, 2015. Except as so admitted, Van Gordon denies each and every
  22   allegation contained in paragraph 22 of the Complaint.
  23         23.    Answering paragraph 23 of the Complaint, insofar as the allegations
  24   of this paragraph contain legal conclusions, no answer is required. To the extent an
  25   answer is required, Van Gordon admits that he is a Los Angeles Police Officer and
  26   encountered a vehicle driven by Sergio Navas on March 5, 2015. Van Gordon
  27   admits that he fatally shot Sergio Navas on March 5, 2015. Except as so admitted,
  28   Van Gordon denies each and every allegation contained in paragraph 23 of the
                                                 4
                                       ANSWER TO COMPLAINT
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   1   Complaint.
   2         24.    Answering paragraph 24 of the Complaint, insofar as the allegations
   3   of this paragraph contain legal conclusions, no answer is required. To the extent an
   4   answer is required, Van Gordon denies the allegations therein.
   5         25.    Answering paragraph 25 of the Complaint, Van Gordon admits that he
   6   fatally shot Sergio Navas on March 5, 2015. Except as so admitted, Van Gordon
   7   denies each and every allegation contained in paragraph 25 of the Complaint.
   8

   9                            FIRST CLAIM FOR RELIEF
  10         26.    Paragraph 26 of the Complaint merely incorporates by reference the
  11   allegations of previous paragraphs. In answering paragraph 26, Van Gordon
  12   incorporates his respective admissions and denials to each such paragraph
  13   enumerated above.
  14         27.    Answering paragraph 27 of the Complaint, insofar as the allegations
  15   of this paragraph contain legal conclusions, no answer is required. To the extent an
  16   answer is required, Van Gordon denies the allegations therein.
  17         28.    Answering paragraph 28 of the Complaint, insofar as the allegations
  18   of this paragraph contain legal conclusions, no answer is required. To the extent an
  19   answer is required, Van Gordon admits that he is a Los Angeles Police Officer and
  20   encountered a vehicle driven by Sergio Navas on March 5, 2015. Van Gordon
  21   admits that he fatally shot Sergio Navas on March 5, 2015. Except as so admitted,
  22   Van Gordon denies each and every allegation contained in paragraph 28 of the
  23   Complaint.
  24         29.    Answering paragraph 29 of the Complaint, insofar as the allegations
  25   of this paragraph contain legal conclusions, no answer is required. To the extent an
  26   answer is required, Van Gordon denies the allegations therein.
  27         30.    Answering paragraph 30 of the Complaint, insofar as the allegations
  28   of this paragraph contain legal conclusions, no answer is required. To the extent an
                                                5
                                      ANSWER TO COMPLAINT
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   1   answer is required, Van Gordon is without sufficient knowledge or information to
   2   form a belief as to the truth of the allegations, and on that basis denies each and
   3   every allegation contained therein.
   4         31.    Answering paragraph 31 of the Complaint, insofar as the allegations
   5   of this paragraph contain legal conclusions, no answer is required. To the extent an
   6   answer is required, Van Gordon is without sufficient knowledge or information to
   7   form a belief as to the truth of the allegations as to DOE Officers and on that basis
   8   denies each and every allegation as to those Officers. As to the remaining
   9   allegations, Van Gordon denies each and every allegation contained in paragraph
  10   31.
  11         32.    Answering paragraph 32 of the Complaint, insofar as the allegations
  12   of this paragraph contain legal conclusions, no answer is required. To the extent an
  13   answer is required, Van Gordon is without sufficient knowledge or information to
  14   form a belief as to the truth of the allegations, and on that basis denies each and
  15   every allegation contained therein.
  16         33.    Answering paragraph 33 of the Complaint, insofar as the allegations
  17   of this paragraph contain legal conclusions, no answer is required. To the extent an
  18   answer is required, Van Gordon is without sufficient knowledge or information to
  19   form a belief as to the truth of the allegations, and on that basis denies each and
  20   every allegation contained therein.
  21         34.    Answering paragraph 34 of the Complaint, insofar as the allegations
  22   of this paragraph contain legal conclusions, no answer is required. To the extent an
  23   answer is required, Van Gordon is without sufficient knowledge or information to
  24   form a belief as to the truth of the allegations, and on that basis denies each and
  25   every allegation contained therein.
  26

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                                       ANSWER TO COMPLAINT
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   1                            SECOND CLAIM FOR RELIEF
   2         35.    Paragraph 35 of the Complaint merely incorporates by reference the
   3   allegations of previous paragraphs. In answering paragraph 35, Van Gordon
   4   incorporates his respective admissions and denials to each such paragraph
   5   enumerated above.
   6         36.    Answering paragraph 36 of the Complaint, insofar as the allegations
   7   of this paragraph contain legal conclusions, no answer is required. To the extent an
   8   answer is required, Van Gordon denies the allegations therein.
   9         37.    Answering paragraph 37 of the Complaint, insofar as the allegations
  10   of this paragraph contain legal conclusions, no answer is required. To the extent an
  11   answer is required, Van Gordon admits that he is a Los Angeles Police Officer and
  12   encountered a vehicle driven by Sergio Navas on March 5, 2015. Van Gordon
  13   admits that he fatally shot Sergio Navas on March 5, 2015. Except as so admitted,
  14   Van Gordon denies each and every allegation contained in paragraph 37 of the
  15   Complaint.
  16         38.    Answering paragraph 38 of the Complaint, insofar as the allegations
  17   of this paragraph contain legal conclusions, no answer is required. To the extent an
  18   answer is required, Van Gordon denies the allegations therein.
  19         39.    Answering paragraph 39 of the Complaint, insofar as the allegations
  20   of this paragraph contain legal conclusions, no answer is required. To the extent an
  21   answer is required, Van Gordon is without sufficient knowledge or information to
  22   form a belief as to the truth of the allegations, and on that basis denies each and
  23   every allegation contained therein.
  24         40.    Answering paragraph 40 of the Complaint, insofar as the allegations
  25   of this paragraph contain legal conclusions, no answer is required. To the extent an
  26   answer is required, Van Gordon is without sufficient knowledge or information to
  27   form a belief as to the truth of the allegations as to DOE Officers and on that basis
  28   denies each and every allegation as to those Officers. As to the remaining
                                                  7
                                       ANSWER TO COMPLAINT
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   1   allegations, Van Gordon denies each and every allegation contained in paragraph
   2   40.
   3         41.    Answering paragraph 41 of the Complaint, insofar as the allegations
   4   of this paragraph contain legal conclusions, no answer is required. To the extent an
   5   answer is required, Van Gordon is without sufficient knowledge or information to
   6   form a belief as to the truth of the allegations, and on that basis denies each and
   7   every allegation contained therein.
   8         42.    Answering paragraph 42 of the Complaint, insofar as the allegations
   9   of this paragraph contain legal conclusions, no answer is required. To the extent an
  10   answer is required, Van Gordon is without sufficient knowledge or information to
  11   form a belief as to the truth of the allegations, and on that basis denies each and
  12   every allegation contained therein.
  13         43.    Answering paragraph 43 of the Complaint, insofar as the allegations
  14   of this paragraph contain legal conclusions, no answer is required. To the extent an
  15   answer is required, Van Gordon is without sufficient knowledge or information to
  16   form a belief as to the truth of the allegations, and on that basis denies each and
  17   every allegation contained therein.
  18

  19                             THIRD CLAIM FOR RELIEF
  20         44.    Paragraph 44 of the Complaint merely incorporates by reference the
  21   allegations of previous paragraphs. In answering paragraph 44, Van Gordon
  22   incorporates his respective admissions and denials to each such paragraph
  23   enumerated above.
  24         45.    Answering paragraph 45 of the Complaint, insofar as the allegations
  25   of this paragraph contain legal conclusions, no answer is required. To the extent an
  26   answer is required, Van Gordon denies the allegations therein.
  27         46.    Answering paragraph 46 of the Complaint, insofar as the allegations
  28   of this paragraph contain legal conclusions, no answer is required. To the extent an
                                                  8
                                       ANSWER TO COMPLAINT
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    1   answer is required, Van Gordon denies the allegations therein.
    2         47.    Answering paragraph 47 of the Complaint, insofar as the allegations
    3   of this paragraph contain legal conclusions, no answer is required. To the extent an
    4   answer is required, Van Gordon denies the allegations therein.
    5         48.    Answering paragraph 48 of the Complaint, insofar as the allegations
    6   of this paragraph contain legal conclusions, no answer is required. To the extent an
    7   answer is required, Van Gordon denies the allegations therein.
    8         49.    Answering paragraph 49 of the Complaint, insofar as the allegations
    9   of this paragraph contain legal conclusions, no answer is required. To the extent an
   10   answer is required, Van Gordon denies the allegations therein.
   11         50.    Answering paragraph 50 of the Complaint, insofar as the allegations
   12   of this paragraph contain legal conclusions, no answer is required. To the extent an
   13   answer is required, Van Gordon denies the allegations therein.
   14         51.    Answering paragraph 51 of the Complaint, insofar as the allegations
   15   of this paragraph contain legal conclusions, no answer is required. To the extent an
   16   answer is required, Van Gordon is without sufficient knowledge or information to
   17   form a belief as to the truth of the allegations, and on that basis denies each and
   18   every allegation contained therein.
   19         52.    Answering paragraph 52 of the Complaint, insofar as the allegations
   20   of this paragraph contain legal conclusions, no answer is required. To the extent an
   21   answer is required, Van Gordon is without sufficient knowledge or information to
   22   form a belief as to the truth of the allegations, and on that basis denies each and
   23   every allegation contained therein.
   24

   25                           FOURTH CLAIM FOR RELIEF
   26         53.    Paragraph 53 of the Complaint merely incorporates by reference the
   27   allegations of previous paragraphs. In answering paragraph 53, Van Gordon
   28   incorporates his respective admissions and denials to each such paragraph
                                                   9
                                        ANSWER TO COMPLAINT
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    1   enumerated above.
    2         54.    Answering paragraph 54 of the Complaint, insofar as the allegations
    3   of this paragraph contain legal conclusions, no answer is required. To the extent an
    4   answer is required, Van Gordon denies the allegations therein.
    5         55.    Answering paragraph 55 of the Complaint, insofar as the allegations
    6   of this paragraph contain legal conclusions, no answer is required. To the extent an
    7   answer is required, Van Gordon is without sufficient knowledge or information to
    8   form a belief as to the truth of the allegations, and on that basis denies each and
    9   every allegation contained therein.
   10         56.    Answering paragraph 56 of the Complaint, insofar as the allegations
   11   of this paragraph contain legal conclusions, no answer is required. To the extent an
   12   answer is required, Van Gordon is without sufficient knowledge or information to
   13   form a belief as to the truth of the allegations, and on that basis denies each and
   14   every allegation contained therein.
   15         57.    Answering paragraph 57 of the Complaint, insofar as the allegations
   16   of this paragraph contain legal conclusions, no answer is required. To the extent an
   17   answer is required, Van Gordon is without sufficient knowledge or information to
   18   form a belief as to the truth of the allegations, and on that basis denies each and
   19   every allegation contained therein.
   20         58.    Answering paragraph 58 of the Complaint, insofar as the allegations
   21   of this paragraph contain legal conclusions, no answer is required. To the extent an
   22   answer is required, Van Gordon is without sufficient knowledge or information to
   23   form a belief as to the truth of the allegations, and on that basis denies each and
   24   every allegation contained therein.
   25         59.    Answering paragraph 59 of the Complaint, insofar as the allegations
   26   of this paragraph contain legal conclusions, no answer is required. To the extent an
   27   answer is required, Van Gordon is without sufficient knowledge or information to
   28   form a belief as to the truth of the allegations, and on that basis denies each and
                                                  10
                                        ANSWER TO COMPLAINT
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    1   every allegation contained therein.
    2         60.    Answering paragraph 60 of the Complaint, insofar as the allegations
    3   of this paragraph contain legal conclusions, no answer is required. To the extent an
    4   answer is required, Van Gordon is without sufficient knowledge or information to
    5   form a belief as to the truth of the allegations, and on that basis denies each and
    6   every allegation contained therein.
    7         61.    Answering paragraph 61 of the Complaint, insofar as the allegations
    8   of this paragraph contain legal conclusions, no answer is required. To the extent an
    9   answer is required, Van Gordon is without sufficient knowledge or information to
   10   form a belief as to the truth of the allegations, and on that basis denies each and
   11   every allegation contained therein.
   12         62.    Answering paragraph 62 of the Complaint, insofar as the allegations
   13   of this paragraph contain legal conclusions, no answer is required. To the extent an
   14   answer is required, Van Gordon is without sufficient knowledge or information to
   15   form a belief as to the truth of the allegations, and on that basis denies each and
   16   every allegation contained therein.
   17         63.    Answering paragraph 63 of the Complaint, insofar as the allegations
   18   of this paragraph contain legal conclusions, no answer is required. To the extent an
   19   answer is required, Van Gordon is without sufficient knowledge or information to
   20   form a belief as to the truth of the allegations, and on that basis denies each and
   21   every allegation contained therein.
   22         64.    Answering paragraph 64 of the Complaint, insofar as the allegations
   23   of this paragraph contain legal conclusions, no answer is required. To the extent an
   24   answer is required, Van Gordon is without sufficient knowledge or information to
   25   form a belief as to the truth of the allegations, and on that basis denies each and
   26   every allegation contained therein.
   27         65.    Answering paragraph 65 of the Complaint, insofar as the allegations
   28   of this paragraph contain legal conclusions, no answer is required. To the extent an
                                                  11
                                        ANSWER TO COMPLAINT
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    1   answer is required, Van Gordon is without sufficient knowledge or information to
    2   form a belief as to the truth of the allegations, and on that basis denies each and
    3   every allegation contained therein.
    4         66.    Answering paragraph 66 of the Complaint, insofar as the allegations
    5   of this paragraph contain legal conclusions, no answer is required. To the extent an
    6   answer is required, Van Gordon is without sufficient knowledge or information to
    7   form a belief as to the truth of the allegations, and on that basis denies each and
    8   every allegation contained therein.
    9

   10                             FIFTH CLAIM FOR RELIEF
   11         67.    Paragraph 67 of the Complaint merely incorporates by reference the
   12   allegations of previous paragraphs. In answering paragraph 67, Van Gordon
   13   incorporates his respective admissions and denials to each such paragraph
   14   enumerated above.
   15         68.    Answering paragraph 68 of the Complaint, insofar as the allegations
   16   of this paragraph contain legal conclusions, no answer is required. To the extent an
   17   answer is required, Van Gordon admits that he is employed as a Police Officer by
   18   the City of Los Angeles and that he fatally shot Sergio Navas. Except as so
   19   expressly admitted, Van Gordon denies each and every allegation contained in
   20   paragraph 68.
   21         69     Answering paragraph 69 of the Complaint, insofar as the allegations
   22   of this paragraph contain legal conclusions, no answer is required. To the extent an
   23   answer is required, Van Gordon is without sufficient knowledge or information to
   24   form a belief as to the truth of the allegations, and on that basis denies each and
   25   every allegation contained therein.
   26         70.    Answering paragraph 70 of the Complaint, insofar as the allegations
   27   of this paragraph contain legal conclusions, no answer is required. To the extent an
   28   answer is required, Van Gordon denies the allegations therein.
                                                  12
                                        ANSWER TO COMPLAINT
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    1                             SIXTH CLAIM FOR RELIEF
    2         71.    Paragraph 71 of the Complaint merely incorporates by reference the
    3   allegations of previous paragraphs. In answering paragraph 71, Van Gordon
    4   incorporates his respective admissions and denials to each such paragraph
    5   enumerated above.
    6         72.    Answering paragraph 72 of the Complaint, insofar as the allegations
    7   of this paragraph contain legal conclusions, no answer is required. To the extent an
    8   answer is required, Van Gordon denies the allegations therein.
    9         73.    Answering paragraph 73 of the Complaint, insofar as the allegations
   10   of this paragraph contain legal conclusions, no answer is required. To the extent an
   11   answer is required, Van Gordon is without sufficient knowledge or information to
   12   form a belief as to the truth of the allegations, and on that basis denies each and
   13   every allegation contained therein.
   14         74.    Answering paragraph 74 of the Complaint, insofar as the allegations
   15   of this paragraph contain legal conclusions, no answer is required. To the extent an
   16   answer is required, Van Gordon denies the allegations therein.
   17         75.    Answering paragraph 75 of the Complaint, insofar as the allegations
   18   of this paragraph contain legal conclusions, no answer is required. To the extent an
   19   answer is required, Van Gordon is without sufficient knowledge or information to
   20   form a belief as to the truth of the allegations, and on that basis denies each and
   21   every allegation contained therein.
   22

   23                           SEVENTH CLAIM FOR RELIEF
   24         76.    Paragraph 76 of the Complaint merely incorporates by reference the
   25   allegations of previous paragraphs. In answering paragraph 76, Van Gordon
   26   incorporates his respective admissions and denials to each such paragraph
   27   enumerated above.
   28         77.    Answering paragraph 77 of the Complaint, insofar as the allegations
                                                  13
                                        ANSWER TO COMPLAINT
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    1   of this paragraph contain legal conclusions, no answer is required. To the extent an
    2   answer is required, Van Gordon denies the allegations therein.
    3         78.    Answering paragraph 78 of the Complaint, insofar as the allegations
    4   of this paragraph contain legal conclusions, no answer is required. To the extent an
    5   answer is required, Van Gordon denies the allegations therein.
    6         79.    Answering paragraph 79 of the Complaint, insofar as the allegations
    7   of this paragraph contain legal conclusions, no answer is required. To the extent an
    8   answer is required, Van Gordon is without sufficient knowledge or information to
    9   form a belief as to the truth of the allegations, and on that basis denies each and
   10   every allegation contained therein.
   11         80.    Answering paragraph 80 of the Complaint, insofar as the allegations
   12   of this paragraph contain legal conclusions, no answer is required. To the extent an
   13   answer is required, Van Gordon denies the allegations therein.
   14         81.    Answering paragraph 81 of the Complaint, insofar as the allegations
   15   of this paragraph contain legal conclusions, no answer is required. To the extent an
   16   answer is required, Van Gordon is without sufficient knowledge or information to
   17   form a belief as to the truth of the allegations, and on that basis denies each and
   18   every allegation contained therein.
   19         82.    The allegations of paragraph 82 of the Complaint state legal
   20   conclusions to which no answer is required. To the extent an answer is required,
   21   Van Gordon denies each and every allegation contained therein.
   22         83.    The allegations of paragraph 83 of the Complaint state legal
   23   conclusions to which no answer is required. To the extent an answer is required,
   24   Van Gordon denies each and every allegation contained therein.
   25

   26                              AFFIRMATIVE DEFENSES
   27         In addition to each of the admissions and denials set forth above, Van
   28   Gordon asserts the following affirmative defenses. The assertion of an affirmative
                                                  14
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    1   defense shall not negate, by any means, Plaintiffs' burden of proof on any element
    2   of their claims.
    3

    4                           FIRST AFFIRMATIVE DEFENSE
    5                            (Failure to State a Claim for Relief)
    6         84.    Van Gordon alleges that neither the Complaint, nor any claim for
    7   relief asserted therein, asserts facts sufficient to constitute a claim against Van
    8   Gordon.
    9

   10                         SECOND AFFIRMATIVE DEFENSE
   11                                   (Assumption of Risk)
   12         85.    Van Gordon alleges that Sergio Navas voluntarily assumed all risks,
   13   responsibility and liability for the alleged injuries or damages, if any, sustained by
   14   Sergio Navas.
   15

   16                          THIRD AFFIRMATIVE DEFENSE
   17                          (Claims Barred by Govt. Code § 820.2)
   18         86.    Van Gordon alleges that each and every state-law claim for relief
   19   contained in Plaintiffs' Complaint is barred by the provisions of Government Code
   20   section 820.2. Specifically, except as otherwise provided by statute, a public
   21   employee is not liable for an injury resulting from his act or omission where the act
   22   or omission was the result of the exercise of the discretion vested in him, whether
   23   or not such discretion be abused.
   24

   25                         FOURTH AFFIRMATIVE DEFENSE
   26                          (Claims Barred by Govt. Code § 820.4)
   27         87.    Van Gordon alleges that each and every state-law claim for relief
   28   contained in Plaintiffs' Complaint is barred by the provisions of Government Code
                                                   15
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    1   section 820.4. Specifically, a public employee is not liable for his act or omission,
    2   exercising due care, in the execution or enforcement of any law.
    3

    4                           FIFTH AFFIRMATIVE DEFENSE
    5                          (Claims Barred by Govt. Code § 820.8)
    6         88.    Van Gordon alleges that each and every state-law claim for relief
    7   contained in Plaintiffs' Complaint is barred by the provisions of Government Code
    8   section 820.8. Specifically, except as otherwise provided by statute, a public
    9   employee is not liable for an injury caused by the act or omission of another
   10   person.
   11

   12                          SIXTH AFFIRMATIVE DEFENSE
   13                     (Claim for relief Barred by Govt. Code § 844.6)
   14         89.    Van Gordon alleges that each and every state-law claim for relief
   15   contained in Plaintiffs' Complaint is barred by the provisions of Government Code
   16   section 844.6. Specifically, a public entity is not liable for an injury to any
   17   prisoner.
   18

   19                        SEVENTH AFFIRMATIVE DEFENSE
   20                           (Claims Barred by Govt. Code § 845)
   21         90.    Van Gordon alleges that each and every state-law claim for relief
   22   contained in Plaintiffs' Complaint is barred by the provisions of Government Code
   23   section 845. Specifically, neither a public entity nor a public employee is liable for
   24   failure to establish a police department or otherwise to provide police protection
   25   service or, if police protection service is provided, for failure to provide sufficient
   26   police protection service.
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    1                          EIGHTH AFFIRMATIVE DEFENSE
    2                                (Avoidable Consequences)

    3         91.    Van Gordon alleges that the damages asserted by Plaintiffs in the

    4   Complaint are barred, either in whole or in part, by the doctrine of avoidable

    5   consequences. State Department of Health Services v. Superior Court, 31 Cal.4th

    6   1026, 6 Cal. Rptr. 3d 441 (2003).

    7

    8                            NINTH AFFIRMATIVE DEFENSE
    9       (Claims Barred Due to Reasonable and Probable Cause to Detain Plaintiff)

   10         92.    Van Gordon alleges that each and every claim for relief contained in

   11   Plaintiffs' Complaint is barred because, at all times mentioned in Plaintiffs'

   12   Complaint herein, Van Gordon had reasonable and probable cause to detain and

   13   restrain Sergio Navas.

   14
   15                          TENTH AFFIRMATIVE DEFENSE

   16                    (Claims Barred Due to Exercise of Reasonable Force)

   17         93.    Van Gordon alleges that each and every claim for relief contained in

   18   Plaintiffs' Complaint is barred because, the force used was reasonable under the

   19   circumstances.

   20

   21                        ELEVENTH AFFIRMATIVE DEFENSE

   22                                (Probable Cause of Threat)

   23         94.    Van Gordon alleges that each and every claim for relief contained in

   24   Plaintiffs' Complaint is barred because he had probable cause to believe that Sergio

   25   Navasz posed a threat of serious physical harm, either to Van Gordon or to others.

   26

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    1                        TWELFTH AFFIRMATIVE DEFENSE
    2                   (Failure to Comply with California Tort Claims Act)
    3         95.    Van Gordon alleges that each and every state-law claim for relief
    4   contained in Plaintiffs' Complaint is barred by Plaintiffs failure to comply with the
    5   provisions of California Tort Claims Act, Government Code section 900, et seq.
    6

    7                      THIRTEENTH AFFIRMATIVE DEFENSE
    8                                   (Qualified Immunity)
    9         96.    Van Gordon alleges that each and every claim for relief contained in
   10   Plaintiffs' Complaint is barred because Van Gordon is entitled to qualified
   11   immunity.
   12

   13                      FOURTEENTH AFFIRMATIVE DEFENSE
   14                                  (Speculative Damages)
   15         97.    Plaintiffs' claims for damages are barred, either in whole or in part,
   16   because Plaintiffs' purported damages are remote, speculative and/or unavailable as
   17   a matter of law.
   18

   19                       FIFTEENTH AFFIRMATIVE DEFENSE
   20                                         (Waiver)
   21         98.    Van Gordon alleges that Sergio Navas engaged in conduct and
   22   activities sufficient to constitute a waiver of any alleged duty, act or omission of
   23   any nature by Van Gordon, which waiver serves to preclude any recovery here
   24   sought by Plaintiffs.
   25

   26                       SIXTEENTH AFFIRMATIVE DEFENSE
   27                                          (Laches)
   28         99.    Van Gordon alleges that each and every claim for relief contained in
                                                  18
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    1   Plaintiffs' Complaint is barred by the equitable doctrine of laches.
    2

    3                    SEVENTEENTH AFFIRMATIVE DEFENSE
    4                              (Failure to Mitigate Damages)
    5         100. Van Gordon alleges that though under a duty to do so, Plaintiffs have
    6   failed and neglected to mitigate the alleged damages, and therefore cannot recover
    7   against Van Gordon whether as alleged, or otherwise. Van Gordon alleges that
    8   Plaintiffs failed to exercise their duty to mitigate and limit his damage claim as to
    9   Van Gordon, which acts and omissions by Plaintiffs have estopped Plaintiffs from
   10   asserting any claim for damages or seeking the relief requested against Van
   11   Gordon.
   12

   13                     EIGHTEENTH AFFIRMATIVE DEFENSE
   14                                         (Estoppel)
   15         101. Van Gordon alleges that each and every claim for relief contained in
   16   Plaintiffs' Complaint is barred by the equitable doctrine of estoppel.
   17

   18                     NINETEENTH AFFIRMATIVE DEFENSE
   19                                     (Unclean Hands)
   20         102. Van Gordon alleges that each and every claim for relief contained in
   21   Plaintiffs' Complaint is barred by the equitable doctrine of unclean hands.
   22

   23                      TWENTIETH AFFIRMATIVE DEFENSE
   24                                        (Privilege)
   25         103. Van Gordon alleges that its conduct was, at all times, justified and
   26   privileged.
   27
   28
                                                  19
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    1                    TWENTY FIRST AFFIRMATIVE DEFENSE
    2                            (Acts or Omissions of Plaintiffs)
    3         104. Van Gordon alleges that, to the extent Plaintiffs suffered any
    4   damages, which Van Gordon denies, they were caused solely by the actions or
    5   omissions of Sergio Navas.
    6

    7                  TWENTY SECOND AFFIRMATIVE DEFENSE
    8                             (Legal and/or Proximate Cause)
    9         105. Van Gordon alleges that its acts were not the legal and/or proximate
   10   cause of any of the damages alleged by Plaintiffs.
   11

   12                    TWENTY THIRD AFFIRMATIVE DEFENSE
   13                                    (Apportionment)
   14         106. Van Gordon alleges that, if Plaintiffs suffered or sustained any loss or
   15   damage as alleged in the Complaint, such loss or damage was proximately caused
   16   and contributed to by persons or entities other than Van Gordon. The liability of
   17   all defendants, named or unnamed, should be apportioned according to the relative
   18   degrees of fault, and the liability of Van Gordon should be reduced accordingly.
   19

   20                  TWENTY FOURTH AFFIRMATIVE DEFENSE
   21                                         (Offset)
   22         107. Van Gordon alleges that any amount for which it is held liable and
   23   owing to Plaintiffs is offset by any and all amounts recovered by Plaintiffs from
   24   any other responsible parties, such that Van Gordon's liability will be reduced in an
   25   amount corresponding to those amounts recovered by Plaintiffs from such other
   26   responsible parties.
   27
   28
                                                 20
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    1                      TWENTY FIFTH AFFIRMATIVE DEFENSE
    2                                  (Statute of Limitations)
    3         108. Van Gordon alleges that each and every claim for relief contained in
    4   Plaintiff’s Complaint is barred by the applicable statute of limitation set forth in
    5   Section 335, et seq., of the California Code of Civil Procedure, including, but not
    6   limited to Sections 335.1, 339, 340, 342, and the limitations periods applicable to
    7   Government Tort Claims as set forth in Government Code section 900 et seq.,
    8   including, but not limited to Sections 945.6 and 950.6.
    9

   10                      TWENTY SIXTH AFFIRMATIVE DEFENSE
   11                                         (Standing)
   12         109. Plaintiffs’ lack standing to pursue this action.
   13

   14                  TWENTY SEVENTH AFFIRMATIVE DEFENSE
   15                                        (Self-Defense)
   16         110. In taking the actions alleged in the Complaint, Van Gordon was acting
   17   in self-defense.
   18

   19                      TWENTY EIGHTH AFFIRMATIVE DEFENSE
   20                                         (No Malice)
   21         111. Any and all acts taken by Van Gordon occurred in the proper exercise
   22   of police powers without malice or intent to deprive any person of any right under
   23   the Constitution or any other law.
   24

   25                      TWENTY NINTH AFFIRMATIVE DEFENSE
   26                               (No Deliberate Indifference)
   27         111. Any and all acts taken by Van Gordon occurred in the proper exercise
   28   of police powers without any deliberate indifference to any Plaintiff’s rights or to
                                                  21
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    1   Sergio Nava’s rights.
    2

    3                       THIRTIETH AFFIRMATIVE DEFENSE
    4                     (Reservation of Additional Affirmative Defenses)
    5         112. Van Gordon alleges that he is without sufficient information as to the
    6   nature and scope of Plaintiffs' claims for relief to be able to be fully assess and set
    7   forth all potentially-applicable affirmative defenses in this matter. Accordingly,
    8   Van Gordon hereby reserves the right to allege additional affirmative defenses as
    9   further information becomes known.
   10

   11                                 PRAYER FOR RELIEF
   12

   13         WHEREFORE, Van Gordon prays as follows:
   14         1.     That Plaintiffs take nothing by reason of their Complaint, and that
   15   judgment be entered in favor of Van Gordon.
   16         2.     That Van Gordon be awarded costs of suit and attorney's fees incurred
   17   in defense of this action pursuant to 42 U.S.C. § 1988 and other legal grounds; and
   18         3.     For such other and further relief as the Court deems just and proper.
   19
        Dated:     March 10, 2016                  Respectfully submitted,
   20
                                                   JONES & MAYER
   21

   22
                                                   By:/s/ Denise L. Rocawich
   23                                                JAMES R. TOUCHSTONE
                                                     DENISE L. ROCAWICH
   24                                                Attorneys for Brian Van Gordon
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